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                           Exhibit 32
   Case 1:23-cv-00108-LMB-JFA Document 1203-29 Filed 08/23/24 Page 2 of 4 PageID# 89255
  Message
  From:           Sissie Hsiao [sissie@google.com]
  Sent:           6/11/2020 9:57:25 PM
  To:             Anthony Chavez [aschavez@google.com]; Ted Lazarus [tlazarus@google.com]
  Subject:        Fwd: Notes: CTO of TTD - Dave Pickles



  Privileged

  Please don't fwd. notes from ttd.

  ---------- Forwarded message ---------
  From: Sissie Hsiao <sissie@google.com>
  Date: Tue, Jun 9, 2020 at 2:39 PM
  Subject: Re: Notes: CTO of TTD - Dave Pickles
  To: Jerry Dischler <jdischler@google.com>, Mike Schulman <mschulman@google.com>, Vidhya Srinivasan
  <vids@google.com>, Ted Lazarus <tlazarus@google.com>, Jason Spero <jspero@google.com>


  Same with this sentence. Also Dave, not me:
  Worried about PII collection model and how it hurts advertisers.


  On Tue, Jun 9, 2020 at 2:36 PM Sissie Hsiao <sissie@google.com> wrote:
   Sorry - this sentence in the notes should be attributed to Dave, not me:

   An internet without data exhaust is a radical position to take. Privacy sandbox is saying this. No ID that ever
   leaves, totally compartmentalized


   On Tue, Jun 9, 2020 at 2:33 PM Sissie Hsiao <sissie@google.com> wrote:
    Privileged and Confidential - Ted please advise

    Styling this fdbk as an interview note. (Questions are me, unless otherwise denoted. Bullets are Dave.)

    How have things changed since you gave fdbk to Jason?
    •        Nothing changed since I spoke with Jason
    How is Interacting with Chrome?
    •        Have rejected every idea we've ever put forward
    •    "I have the power to change the internet and I will reject everything you say." "The PMs at Chrome are
    drunk with power."
    •        They are rejecting fdbk from Apple, Microsoft, FB.
    An internet without data exhaust is a radical position to take. Privacy sandbox is saying this. No ID that ever
    leaves, totally compartmentalized
    •    Looked in detail at FLOC and TurtleDove. Not good for anything. Supports hyper targeted, or low
    specificity ads, both are not good.
    •        Want lookalike modeling and end to end, not-last-touch attribution. Not doable in Privacy Sandbox.
    •     "Privacy Sandbox is totally out ofline with what ad tech wants. Predict 75% CPM cut for people who
    uses it."




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    •    No need to test FLOC Turtledove. We used to have quadrillions of slices, replaces 1000s. Won't
    support small pubs. Anything niche won't work. Flawed idea.
    How about login? or PII collection? What will pubs do?
    •    Predict this will push all pubs to push for a login on site
    •     No one is positioned to win the login except Google. DOJ will look carefully at that. Conspiracy theorist
    - big push for everyone to log into Google. Chrome change might be to fuel land grab for Google Login - big
    problem on Google re: DOJ
    •     When Apple took away their ID, people moved to Chrome. Still subject to ITP. But Google login was
    there on ChromeSo complicated, takes time - insiders to play it all out.
    How will pubs get PII?
    •    Some will do Google and FB sign in.
    •    Pubs will want to own a clear text email address relationship. Not obfuscated email. Google sign in
    won't be accepted unless you give them the clear email address
    •    Some will get best effort email address. Some will verify the email address
    •    There will be some consolidation plays. Smaller newspapers might move to one domain so it's Ip
    agam.
    •    New walled gardens that will get built (ID consortiums). IAB, NAI, Liveramp, - many efforts underway
    - new one underway - to accept login
    Macro-concern
    •    Don't buy premise that 3p are bad and Ip are ok. That publisher can only do things
    themselves. Shopify is counterweight for Amazon
    •   Small pubs and advertisers need to partner. Privacy Sandbox puts the small pubs at risk. Unless we
    move to PIIonsumer I can't contact
    What about browser or device ID?
    •    Google has an opportunity when you build a phone, android, to own the consumer - adtech - publisher
    choice in a clear and transparent way. Make the choice clear and understandable about free content,
    advertising.
    •    Instead of TCF and all the multiple layers of control confusion, make it clean. One setting and one UI,
    centralize the permissions in a unified way
    •    No cookie mapping. No complexity.
    •    FTC can then litigate - no place to hide. You are liable. Let's go build an auditable system, not security
    through obscurity like cookies.
    •    User can optionally attach attach an email address.
    •    Like SSL cert - you can get a warning if not compliant on that site. Make it so you fail your audit,
    warnings will impact your domain
    •    "Super elegant. Evolutionary not revolutionary approach. Not nuking ad tech industry during
    pandemic."
    Have you spoken with other browsers?
    •    We're talking to Microsoft about browserID. Microsoft is trying to figure out macro what to do. What
    is Edge, where does it fit in the world?
    •    Edge is pretty neutral in a Microsft-y fashion. Concerned about their division. Playing chess in their
    heads




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    •    He said to Microsoft - this is their oppty. If Chrome requires login everywhere, this could break the user
    experience and could swing 20 points in their direction on the browser
    Won't ad tech vendors just "layer" PII on top of browser ID? suppose browserID consent is low ... e.g. 50% ...
    •     I think the browser ID is so powerful. You can do it whenever.
    •    If you put a screen in front of user. And passing the ID. There's no defense. Sensible defaults and an
    actual choice. Ad tech and pubs will have to honor it.
    •     Can they also ask for PII - of course they can. But they would have to justify why they are asking, "in
    addition to" what the user already expressed as their choice at the browser level.
    •    Right now with Privacy Sandbox, pubs can say to user "your browser screwed you, give me
    access". With Browser ID, how do you justify the additional consent to gather PII for advertising, as a
    publisher?
    Worried about PII collection model and how it hurts advertisers.
    •     Advertisers paid a lot to get you on the page. If you make them also ask for an email address, or login, it
    will hurt commerce a lot
    Regulators response? ...
    •    Their position vis a vis privacy and antitrust is counter to each other. TCF response: be more specific in
    the UX. But this drives down competition (limits# of vendors you can really ask for consent for)
    Apple ...
    •     "We hired apple's privacy lawyer. He said don't bother talking with them."
    •     "He said Apple won't move on apps b/c it'll kill their app store."
    Do you have q's for me?
    •    Dave: What's going on transparency framework? Has it been abandoned? That was a good proposal
    and could work well with BrowserID. Make GDPR and everything more consistent as well.
    •    Dave: Are you divesting DCLK? "If you divest DCLK then you can do whatever you want on Chrome
    and O&O without fear of antitrust."




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